



















NO. 07-11-00013-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



JUNE
13, 2011

&nbsp;



&nbsp;

ESTEBAN HUERTA FLOREZ, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;



&nbsp;

FROM THE 251ST DISTRICT COURT OF RANDALL COUNTY;

&nbsp;

NO. 21,873-C; HONORABLE ANA ESTEVEZ, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

ABATEMENT AND REMAND

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant Esteban Huerta Florez appeals a judgment finding him guilty of aggravated
assault with a deadly weapon and a sentence of twenty years of imprisonment
with a fine of $10,000.&nbsp; We abate and
remand the case to the trial court to resolve issues relating to the trial
court reporter’s record.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The clerk’s record was filed in this
appeal on March 7, 2011. The reporter’s record was initially due February 14,
2011.&nbsp; On February 25,
not having received a reporter’s record or a motion for extension of time, we
wrote the reporter, asking the status of the record.&nbsp; On March 3, the reporter filed her first
extension request based on appellant’s failure to submit a written designation
for the record.&nbsp; We extended the deadline
to March 18.&nbsp; On that date, the reporter
filed a second request for extension, which we granted, extending the deadline
to April 18.&nbsp; On April 21, the reporter
filed a third request for an extension, citing her caseload as the reason.&nbsp; We extended the deadline to May 18.&nbsp; On May 16, the reporter filed a fourth
extension request, stating she was currently editing the record, having just
received it from her scopist.&nbsp; We extended the deadline to June 1.&nbsp; On June 8, the reporter filed a fifth request
for an extension of time wherein she cited work in another case and an upcoming
vacation to support her request.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We abate this appeal and remand the
cause to the trial court.&nbsp; On remand, the
trial court shall utilize whatever means it finds necessary to determine the
following: 

1.&nbsp;&nbsp;&nbsp; Why the reporter’s record has not been filed after
four extensions of its due date;

&nbsp;

2.&nbsp;&nbsp;&nbsp; When the reporter’s record can reasonably be filed in
a manner that does not further delay the prosecution of this appeal or have the
practical effect of depriving the appellant of his right to appeal; and 

&nbsp;

3.&nbsp;&nbsp;&nbsp; Whether an alternate or substitute reporter should or
can be appointed to complete the record in a timely manner.

&nbsp;

If the trial court conducts a hearing, it shall cause the
hearing to be transcribed.&nbsp; Also, it
shall (1) execute findings of fact and conclusions of law addressing the
foregoing issues; (2) cause to be developed a supplemental clerk’s record
containing its finding of fact and conclusions of law and all orders it may
issue as a result of its hearing on this matter; and (3) cause to be developed
a reporter’s record transcribing the evidence and arguments presented at any
hearing held.&nbsp; Additionally, the district
court shall then file the supplemental clerk’s record and reporter’s record, if
any, with the clerk of this Court on or before July 13, 2011.&nbsp; Should further time be needed by the trial
court to perform these tasks, then same must be requested before July 13, 2011.

&nbsp;

It is so ordered.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Per
Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;

&nbsp;

&nbsp;

Do
not publish.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;






areast-theme-font:minor-fareast;mso-ansi-language:EN-US;mso-fareast-language:
EN-US;mso-bidi-language:AR-SA'&gt;[1] Because
no clerk’s record has been filed in this case, the identification of the
offenses for which appellant was convicted are as reflected in appellant’s
notice of appeal and docketing statement.







